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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                        MEMORANDUM & ORDER

         v.                                                             03-CR-1382 (NGG)

 BALDASSARE AMATO, et al.,

                            Defendants.
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 GARAUFIS, United States District Judge.

         This Memorandum and Order (“M&O”) shall address the motion in limine by defendant

 Anthony Basile (“Defendant” or “Basile”) to preclude hearsay statements by cooperating witness

 Frank Lino that allege Basile’s involvement in loansharking activities. Specifically, the

 Government will seek to admit testimony by Frank Lino, a cooperating witness, that while he and

 Robert Lino were incarcerated together, Robert Lino said that he and Basile engaged in

 loansharking, and that they both lent money to the same customer. (Basile’s Mem. Supp. Mot.

 Exclude, at 1-2.) Basile asserts that this testimony lies outside Fed. R. Evid. 801(d)(2) regarding

 coconspirator statements, that it contains impermissible multiple hearsay, and that its admission

 would violate Basile’s Confrontation Clause rights. (Id. at 2-3.) For the reasons set forth below,

 Basile’s motion is DENIED. Knowledge of the factual background of this motion is presumed.

 I.      DISCUSSION

 A.      Standard of Review

         “Although the Federal Rules of Evidence do not explicitly authorize in limine rulings, the

 practice has developed pursuant to the district court's inherent authority to manage the course of



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 trials.” Luce v. United States, 469 U.S. 38, 41 n.4 (1984). “Evidence should be excluded on a

 motion in limine only when the evidence is clearly inadmissible on all potential grounds.

 Wechsler v. Hunt Health Sys., Ltd., 381 F. Supp. 2d 135, 140 (S.D.N.Y. 2003). A district court’s

 ruling on a motion in limine is “subject to change when the case unfolds, particularly if the actual

 testimony differs from what was contained in the . . . proffer.” Luce, 469 U.S. at 41.

 1.     Coconspirator Statement

        “[A] statement by a coconspirator of a party during the course and in furtherance of the

 conspiracy” is not hearsay. Fed. R. Evid. 801(d)(2)(E). The Second Circuit instructs that a party

 seeking the admission of a statement under Rule 801(d)(2)(E) must show by:

        a preponderance of evidence independent of the proffered statements
        demonstrating that there was a conspiracy, that the declarant and the person
        against whom the statement is offered belonged to the conspiracy, and that the
        statements were made during the course of and in furtherance of the conspiracy.

 United States v. Stewart, 433 F.3d 273, 291 (2d Cir. 2006) (citing United States v. Alameh, 341

 F.3d 167, 176-77 (2d Cir. 2003)); Fed. R. Evid. 104(a), 801(d)(2). While the trial judge can

 consider the proffered statement itself in determining its admissibility, Bourjaily v. United States,

 483 U.S. 171, 181 (1989), the statement alone is “not alone sufficient to establish the existence

 of the conspiracy and the participation therein of the declarant, and the party against whom the

 statement is offered . . . .” Fed. R. Evid. 801(d)(2). To be considered “in furtherance” of the

 conspiracy, the statement must “promote[] or [be] . . . intended to promote[] the goals of the

 conspiracy.” United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181, 1199 (2d Cir. 1989).

 2.     Hearsay Within Hearsay

        “Each hearsay statement within multiple hearsay statements must have a hearsay



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 exception in order to be admissible.” United States v. Cruz, 894 F.2d 41, 44 (2d Cir. 1990)

 (citing Fed. R. Evid. 805). A party seeking admission of coconspirator statements that contain

 multiple hearsay must show the Rule 801(d)(2)(E) elements for each layer of hearsay. Pittman

 by Pittman v. Grayson, 149 F.3d 111, 124 (2d Cir. 1998); United States v. Cruz, 910 F.2d 1072,

 1082 (3d Cir. 1990), cert. denied, 111 S. Ct. 709 (1991).

 3.     Confrontation Clause

        In Crawford v. Washington, 541 U.S. 36 (2004), the Supreme Court held that certain

 ‘testimonial’ statements admitted against a defendant without that defendant’s ability to cross-

 examine the declarant would constitute a violation of the Confrontation Clause. One category of

 inadmissible testimonial statements are those “made under circumstances which would lead an

 objective witness reasonably to believe that the statement would be available for use at a later

 trial.” Id. at 52. However, “statements in furtherance of a conspiracy [are] generally not

 testimonial and [are] exceptions to the hearsay rule [and] encounter[] no Confrontation Clause

 obstacle.” Stewart, 433 F.3d at 292.

 B.     Analysis

        I first consider whether the Government has shown by a preponderance of the evidence

 (1) a conspiracy, (2) the declarant and defendant belonged to the conspiracy, and that the

 statement was made (3) in the course of and (4) in furtherance of the conspiracy. Fed. R. Evid.

 104(a), 801(d)(2); Bourjaily v. United States, 483 U.S. 171, 181 (1989).

        In a Memorandum and Order issued by this court on June 8, 2006 (“June 8 M&O”), I

 found that “the Government has shown by a preponderance of the evidence the existence of the

 Bonanno organized crime family as an enterprise, that [Robert] Lino and Basile were


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 coconspirators in the enterprise,” and that testimony by a cooperating witness that Robert Lino

 told him that Lino “proposed” Basile for membership in the Bonanno organized crime family

 was made in the course of and in furtherance of the conspiracy. United States v. Amato, 03-Cr.-

 1382, slip op., at 4-5 (E.D.N.Y. June 8, 2006). I adhere to this ruling, which controls the instant

 motion with respect to the first two elements of Rule 801(d)(2)(E).

        As stated in the June 8 M&O, the Government has shown by a preponderance of the

 evidence the existence of the Bonanno organized crime family (“OCF”) conspiracy. Basile’s

 argument that the appropriate “conspiracy” for the purposes of this analysis is the specific alleged

 loansharking conspiracy is unavailing. (See Mem. Supp. Mot. Exclude, at 5-9.) The

 Government has shown by a preponderance of the evidence that Basile was a member of the

 Bonanno crime family, which is the “conspiracy” at issue in the instant motion. While the trial

 court must find “the existence of a specific criminal conspiracy beyond the general existence of

 the Mafia,” United States v. Gigante, 166 F.3d 75, 82 (2d Cir. 1999), that requirement is met

 where the Government establishes a “unity of interests stemming from a specific shared criminal

 task . . . .” Id. at 83. In the instant motion, the Government alleges that Frank Lino, Basile’s

 captain, spoke with Robert Lino, a member of the same enterprise, about loansharking loans that

 Robert Lino and Basile made to the same victim, also an associate of the same enterprise. There

 are numerous avenues by which the Government might show the requisite “unity of interests”:

 Robert Lino may have raised the issue with Frank Lino to mediate the potential dispute between

 him and Basile, or Robert Lino might have brought up the issue simply to apprise him of the

 activities of Basile, as an associate under his authority. As various theories might support the

 admissibility of the testimony as a coconspirator statement, preclusion of this testimony is not


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 warranted.

        As to the second element of the declarant and defendant’s status as coconspirators,

 evidence in the record establishes by a preponderance of the evidence that Robert Lino was a

 member of the Bonanno OCF, Frank Lino was a captain in the Bonanno OCF, and Basile was an

 associate of the OCF who reported to Frank Lino.

        Regarding the last two elements, that the statement was in the course of and in the

 furtherance of the conspiracy, the Government has shown by a preponderance of the evidence the

 existence of an ongoing conspiracy, and the statement was therefore “in the course of” the

 conspiracy. To the extent that Basile’s involvement in the conspiracy is at issue, the proffered

 statement was made well before Basile’s alleged involvement in the Bonanno OCF ended.

 Furthermore, as the Government has shown by a preponderance of the evidence that Robert Lino

 and Frank Lino are coconspirators, there are any number of reasons why this statement might be

 in “the furtherance” of the conspiracy. For example, a statement between coconspirators to

 maintain the cohesiveness of the conspiracy, or to inform each other of the current status of the

 conspiracy in order to further the ends of the conspiracy is “in furtherance” of the conspiracy.

 See United States v. Rahme, 813 F.2d 31, 36-37 (2d Cir. 1987); United States v. Persico, 832

 F.2d 705, 716 (2d Cir. 1987). At this time, I do not find that this statement is inadmissible as it

 appears to be in the furtherance of the Bonanno OCF conspiracy.

        Basile’s assertion that the statement is inadmissible as multiple hearsay if the basis of

 Robert Lino’s knowledge of Basile’s alleged loansharking is the alleged loansharking victim, or

 some other unknown person, is also without merit. (Basile Mem. Supp. Mot. Exclude, at 5-6.)

 To constitute hearsay, there must be a “statement,” defined as “an oral or written assertion”


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 or “nonverbal conduct” intended as an assertion. Fed. R. Evid. 801(a). Accordingly, to the

 extent that Frank Lino intends to testify to Robert Lino’s statement to him, and not to a statement

 that Robert Lino heard from a different declarant, this does not constitute multiple hearsay.

 Assuming, arguendo, that the Government proffers a statement made by a third, unknown

 declarant, knowledge of the declarant’s identity is not a requirement as long as the trial court can

 reach a determination that the declarant is a member of the conspiracy. Cruz, 910 F.2d at 1081

 n.10; cf. Zaken v. Boerer, 964 F.2d 1319, 1323-24 (2d Cir. 1992) (distinguishing foundation for

 coconspirator statement, which does not require knowledge of declarant’s identify, from agent

 statement under Fed. R. Civ. P. 801(d)(2)(D), which does). As the Government alleges that the

 loansharking victim is an associate of the conspiracy, this statement may be admissible as a

 coconspirator statement, or as a statement against penal interest. See Fed. R. Evid. 804(b)(3);

 United States v. Garris, 616 F.2d 626, 633 (2d Cir. 1980). Without further knowledge of the

 nature of the statement offered by the Government, I decline at this time Basile’s invitation to

 find this statement inadmissible on this basis.

        Next, admission of Frank Lino’s testimony regarding statements made by Robert Lino

 while in prison with him would not violate Basile’s Confrontation Clause rights because these

 statements are not “testimonial.” I adhere to the ruling in my June 8, 2006 M&O that a

 coconspirator statement “made outside of the presence of law enforcement, without a reasonable

 expectation that the statement would be used in a future trial or government investigation . . . is

 not a ‘testimonial’ statement within the meaning of Crawford.” Id. at 5 (citing Stewart, 433 F.3d

 at 291-93). Hence, admission of this statement does not implicate Defendant’s Confrontation

 Clause rights.


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        I note that the Government responded to Basile’s motion with a one page letter asserting

 that “[d]uring [Frank] Lino’s testimony, the government will lay the proper foundation to

 establish that the statements to be elicited from Lino . . . fall squarely within the coconspirator

 exception to the hearsay rule.” (Gov’t Ltr., dated June 19, 2006.) Because the Government has

 not disclosed the exact nature of the hearsay statement(s), this court is unable determine the exact

 contours of its admissibility. This court’s denial of Basile’s motion in limine is therefore limited:

 I find that the statement is admissible on its face as a coconspirator statement that does not

 violate Basile’s Confrontation Clause rights. However, this ruling is subject to change should the

 statement indeed prove inadmissible. See Luce, 469 U.S. at 41.

 II.    CONCLUSION

        Basile’s motion in limine to preclude testimony by witness Frank Lino of Robert Lino’s

 discussion of Defendant’s alleged loansharking activity is DENIED.

 SO ORDERED.

 Dated: June 20, 2006                                    _____/s/___________________
        Brooklyn, N.Y.                                   Nicholas G. Garaufis
                                                         United States District Judge




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